Case: 1:22-cv-00125 Document #: 753-17 Filed: 12/16/24 Page 1 of 2 PageID #:16696




                      EXHIBIT 17
           Case: 1:22-cv-00125 Document #: 753-17 Filed: 12/16/24 Page 2 of 2 PageID #:16697
    Date:    Tuesday, April 15 2014 01 :09 PM
                                                                                             EXHIBIT
    Subject: Re: 568 Talking points paper
    From:    Patricia McWade <mcwadep@georgetown.edu >                                  McWade-11   12.8.23 mlg

    To:      Ted Bracken <ted.bracken@yahoo.com>;

    I think it was made clear to those wanting to participate in 568 that they could NOT use an EFC that was lower
    than what is calculated using the CA, unless they had documented the case using "professional judgment". That
    was why HYP felt the need to leave the group; they wanted to offer more "need-based" scholarship aid. Maybe
    this is not the document to explain that nuance but it is a reality.


    On Tue, Apr 15, 2014 at 12:57 PM, Ted Bracken <ted.brackenGiiyahoo.com> wrote:

    I think this is a improvement on what were were trying to say, Pat.


    Begin forwarded message:


          From: Kristine E Dillon <         GiiMIT.EDU >
          Subject: RE: 568 Talking points paper
          Date: April 15, 2014 at 12:51:29 PM EDT
          To: Ted Bracken <ted.brackenGiiyahoo.com>
          Cc: Megan Arleth <marlcthGiimit.edu >

          Ted--

          Sorry to be slow with my comments. I was traveling last week and editing documents was not possible.

          -----Original Message-----
          From: Ted Bracken [mailto:ted.bracken@Dyahoo.com]
          Sent: Tuesday, April 15, 2014 12:31 PM
          To: Bruce C Layton; Megan Arleth; Scott Fleming; Patricia McWade; Chris Simmons;

          Cc: Kristine E Dillon
          Subject: 568 Talking points paper

          All,

          Attached is the latest draft of the 'talking points' piece that has now had the benefit of several
          improvements suggested by the group.

          Let me know how I can be of further help.


          Ted




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